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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


LONE STAR TECHNOLOGICAL
INNOVATIONS, LLC,                                         Civil Action No. 6:19-CV-00059-RWS

               Plaintiff,                                                 LEAD CASE

      v.

ASUSTEK COMPUTER INC.,

               Defendant.

LONE STAR TECHNOLOGICAL
INNOVATIONS, LLC,                                         Civil Action No. 6:19-CV-00060-RWS

               Plaintiff,                                             Jury Trial Demanded

      v.

BARCO N.V.,

               Defendant.

   ORDER GRANTING MOTION TO STRIKE AND EXCLUDE CERTAIN CLAIM
                   CONSTRUCTION SUBMISSIONS


      Now before the Court is the Defendants’ Motion to Strike and Exclude Certain Claim

Construction Submissions. The motion is GRANTED. The Court orders:

      1. The Clerk is directed to strike Plaintiff’s claim construction brief and its exhibits from

           the record (ECF Nos. 84, 84-1, 84-2, 84-3, 84-4, 84-5);

      2. Plaintiff is ordered to submit a redacted version of the same brief in which all references

           to Exhibits 2 and 5 and portions of arguments relying on those exhibits are redacted, and

           in which all argument regarding the claim term “viewer” is redacted;

      3. Plaintiff is ordered to either entirely withdraw its technology tutorial materials or

           resubmit the materials with the portions identified in the brief deleted. Plaintiff shall not
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          add any replacement material to the technology tutorial. If Plaintiff elects to resubmit

          the altered tutorial, Plaintiff shall provide the altered tutorial to Defendants within five

          (5) days of this order and meet-and-confer regarding any disputes about whether the

          revisions were appropriate;

      4. Because of the tight schedule for claim construction, Plaintiff shall file the redacted brief

          and lodge (but not file) the redacted technology tutorial, if any, within ten (10) days of

          this order.




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